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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

MUHAMMAD ALIAHMED and
EVONCA SAKINAH 8S. ALIAHMED, -
a/k/a Hermione Kelly Ivy Winter,

£/k/a David Allen Allemand,

Plaintiffs, :
: CONSOLIDATED
v. : Civ. No. 20-491-LPS
WARDEN MAY, et al,
Defendants.
MEMORANDUM ORDER

At Wilmington thi (Ws £
gton this ay of January, 2021,

1. Plaintiff Hermione Kelly Ivy Winter (“Winter”) filed two lawsuits. One was opened
on January 29, 2020, and assigned Civ. No. 20-134-LPS. Winter filed a motion to proceed én forma
pauperis and her prison trust account statement, het motion was granted and she was assessed an
initial partial filing fee. (Civ. No. 20-134-LPS, at D.L 4, 5, 6)

2. On April 9, 2020, Winter filed a second case under her married name Evonca Sakinah
S. Aliahmed (“E. Aliahmed”), with co-Plaintiff Muhammad Aliahmed (“M. Aliahmed”), and the case
was assigned Civ. No. 20-491-LPS. On April 17, 2020, Winter advised the Court that Civ. No. 20-
491-LPS was a duplicate case, opened in error. (Civ. No. 20-491-LPS at D.I. 4) On May 19, 2020,
the Court ordered each Plaintiff to a request to proceed in forma pauperis and his or her respective
prison trust fund account statement. (D.L 7) Plaintiffs were advised that the failure of either of
them to comply with the ordered within thirty days from the date it was sent would tesult in his or
het dismissal from the action without prejudice. (Id))

3, On May 28, 2020, the Court reviewed the Complaints in both cases, consolidated the

 
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two cases, and made Civ No. 20-491-LPS the lead case. (D.I. 12) The Court observed that the
Complaint filed in Civ. No. 20-491-LPS was received mote than two months after 20-134-LPS was
opened, had no case number, and provided a line to insett the case numbet, indicating it was a new
case. In addition, the complaint in 20-491-LPS named two Plaintiffs, not one, and Muhammad
Aliahmed was not a named plaintiff in Civ. No. 20-134-LPS. Finally, the lone defendant in 20-134-
LPS is John Doe while 20-491-LPS named over thirty defendants. The Consolidation Order
specifically stated, “Plaintiffs shall comply with the requirements and deadlines set forth in the
Coutt’s May 19, 2020 Order entered in Civ. No. 20-491-LPS at D.I. 7. (Ia. at 3)

4. On June 1, 2020, M. Aliahmed filed his prison trust account statement in the
consolidated case. (D.1. 13) On June 5, 2020, Winter as E. Aliahmed filed a notice of appeal, No.
20-2130. (D.I. 16, 18) While the matter was on appeal Winter as E. Aliahmed filed several motions
in the consolidated action. (D.1. 17, 34, 35, 38, 42, 43) On December 14, 2020 the United States
Court of Appeals for the Third Citcuit dismissed the appeal for lack of appellate jurisdiction. (D.1.
44)

5. At no time prior to the time the appeal was filed, nor after it was dismissed on
December 14, 2020, did either fully Plaintiff comply with the Court’s May 19, 2020 Order or May
28, 2020 Ordet.1 The May 19, 2020 Order placed Plaintiffs on notice that their respective failure to
comply with the order would result in dismissal of the case and the May 28, 2020 teiterated that
Plaintiffs were to comply with all requirements and deadlines outlined in the May 19, 2020 order.

IT IS THEREFORE ORDERED that:

1. All pending motions are DENIED as moot. (D.1. 17, 34, 35, 38, 42, 43)

2. The Complaint is DISMISSED without prejudice for failure to comply with the

 

iM. Aliahmed filed a copy of his prison trust account statement but did not submit a request to
proceed iw forma paupers. (See D.I. 13)

 

 
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Coutt’s May 19, 2020 Order and May 28, 2020 Order. (DI. 7, 12)

3, The Cletk of Court is directed to CLOSE the pase

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HONORALBE LEONARD P. STARK
UNITED STATES DISTRICT JUDGE

 

 
